
Unique Physical Rehab, PT, P.C., as Assignee of Victor Agnest, Eden Fremont, Edith Fuentes, Moise Lemon and Jean Princivil, Respondent,
againstGlobal Liberty Insurance Company of New York, Appellant.




Law Office of Jason Tenenbaum, P.C. (Jason Tenenbaum of counsel), for appellant.
Petre and Zabokritsky, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Steven Z. Mostofsky, J.), entered August 17, 2016. The order, insofar as appealed from as limited by the brief, denied defendant's motion to sever the first cause of action seeking to recover upon a claim for services rendered to Victor Agnest from the remaining causes of action.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals, as limited by the brief, from so much of an order of the Civil Court as denied defendant's motion, which had sought, pursuant to CPLR 603, to sever the first cause of action seeking to recover upon a claim for services rendered to Victor Agnest from the remaining causes of action. Defendant's counsel asserted that the causes of action had arisen out of four accidents and that multiple defenses had been interposed in the answer. The Civil Court denied defendant's motion.
For the reasons stated in Himalayans Acupuncture, P.C., as Assignee of Davron Khuseynov, et al. v Global Liberty Ins. Co. of NY (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2016-2225 K C], decided herewith), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur. 
ENTER:
Paul Kenny
Chief Clerk
Decision Date: March 08, 2019










